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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
United States of America                                           CASE NUMBER

                                                    PLAINTIFF(S)                         2:19-cr-00642 VAP
                                 v.
Imaad Shah Zuberi
                                                                         ORDER RE TRANSFER PURSUANT TO
                                                                      GENERAL ORDER 19-03 (Related Criminal Cases)
                                                   DEFENDANT(S).


                                 TRANSFER                 CONSENT
                                                                 ORDER
          I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 19-03.
                                             DECLINED
                                                          R. Gary Klausner
                  Date                                    United States District Judge


                                                         DECLINATION
          I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth below:
Insufficient facts. The Informations of both cases fail to establish any connection between the two actions.




         November 11, 2019
                  Date                                      United States District Judge
                                  REASON FOR TRANSFER AS INDICATED BY COUNSEL

          Case 2:19-cr-00537 RGK                              and the present case:
                A. Arise out of the same conspiracy, common scheme, transaction, series of transactions or events; or
                B. Involve one or more defendants in common, and would entail substantial duplication of labor in pretrial,
                    trial or sentencing proceedings if heard by different judges.

                                                    Notice to Counsel from Clerk

                                        TRANSFER ORDER
          On all documents subsequently filed in this case, please substitute the initials                        after the case
number in place of the initials of the prior judge, so that the case number will read                                              .
This is very important because documents are routed  DECLINED
                                                         to the assigned judge by means of these initials.




cc:         PSALA           PSAED          USMLA         USMSA          USMED            Previous Judge      Statistics Clerk

CR-59 (03/19)                ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 19-03 (Related Criminal Cases)
